         Case 1:18-mj-00103-GMH Document 1-1 Filed 08/24/18 Page 1 of 5



                                 STATEMENT OF OFFENSE

       I, Matthew S. Hopkins, Special Agent with the Bureau of Alcohol, Tobacco, Firearms and

Explosive (“ATF”), Washington Field Division, Washington, D.C. (hereinafter Affiant”), being

duly sworn, deposes and states as follows:

                                        INTRODUCTION

       1.      Your Affiant has been a Special Agent with the ATF since January 2016 and is an

investigative law enforcement officer of the United States within the meaning of Section 2510(7)

of Title 18 United States Code, and is empowered by law to conduct investigations and to make

arrests for the offenses enumerated in Section 2516 of Title 18, United States Code.

       2.      Your Affiant has received training and experience in interviewing and interrogation

techniques, surveillance techniques, arrest procedures, search and seizure, and asset forfeiture, and

in gang, organized crime, money laundering, and drug investigations, including the possession

with intent to distribute and distribution of controlled substances, and conspiracies and offenses

associated with the foregoing criminal offenses which are prohibited by Title 21, United States

Code, Sections 841(a)(1), 843(b), and 846, and Title 18, United States Code, Sections 922 and

924, 1956 and 1957. Your Affiant’s training includes successful completion of the Criminal

Investigator Training Program (CITP), instructed by the Federal Law Enforcement Training

Center (FLETC), and the Special Agent Basic Training, instructed by the Bureau of Alcohol,

Tobacco, Firearms, and Explosives National Academy, also located at FLETC, Glynco, Georgia.

       3.      Additionally, your Affiant was a sworn Police Officer, with the United States Park

Police (USPP), Washington, D.C., from May 2010 until January 2016. Your Affiant successfully

completed the Uniformed Police Training Program (UPTP), instructed by FLETC staff, and

Agency Specific Basic (ASB) training program for the United States Park Police.
          Case 1:18-mj-00103-GMH Document 1-1 Filed 08/24/18 Page 2 of 5



        4.       Your Affiant has successfully completed numerous training programs hosted by

ATF, the Federal Law Enforcement Training Center, and other local/state/federal law enforcement

agencies and organizations. Your Affiant has received specialized training in the investigation of

state and federal crimes involving the trafficking of firearms and controlled substances. This

includes training on the exploitation of data stored on cellular devices for the purpose of criminal

investigations. I have participated in numerous drug and firearm trafficking investigations that

resulted in the arrest of numerous subjects, the seizure of property and assets, and the seizure of

controlled substances and firearms

        5.        This affidavit is based upon information witnessed by your affiant, or provided to

me by other law enforcement officers/agents, other law enforcement investigators, government

specialists and witnesses. Because this affidavit is being submitted for the limited purpose of

securing a Criminal Complaint and Arrest Warrant, I have not included each and every fact known

to me concerning this investigation. I have set forth only the facts which I believe are necessary

to establish probable cause for the issuance of a Criminal Complaint and Arrest Warrant.

                                            PROBABLE CAUSE

        6.       On August 24, 2018, at approximately 6:02 a.m., law enforcement executed a

search warrant at the apartment of RICARDO YATES, located at XXX XXXXXX Avenue, XX.,

Washington, D.C.1

        7.       At the time that law enforcement entered the apartment, three individuals were

present in the apartment: YATES, YATES’s mother, and a female overnight guest. YATES and

YATES’s mother were found in the living room and the female overnight guest was found in the



1
 On April 7, 2017, RICARDO YATES was administratively booked in to the District of Columbia Central Cell Block
for Attempted Distribution of a Controlled Substance. At the time of YATES’s booking, he listed his address as 1901
Constitution Avenue Northeast, Apartment 2, Washington, D.C. 20002.

                                                        2
         Case 1:18-mj-00103-GMH Document 1-1 Filed 08/24/18 Page 3 of 5



rear bedroom. Law enforcement located numerous items inside the apartment, including, but not

limited to:

      High Standard Sentinel Deluxe .22 caliber revolver, loaded with four rounds of .22 caliber

       ammunition;

      an AR-style rifle with no make or model, that appears to be assembled from an “80 percent”

       lower receiver, loaded with a magazine containing 29 rounds of .223 ammunition;

      two grocery style bags, one inside the other, containing a white powdery substance that

       appears to be compressed and packaged within several layers of plastic packaging

       (consistent with vacuum sealing or heat sealing technology). The white powdery substance

       weighed approximately 345.2 grams with packaging and field-tested positive for the

       presence of cocaine hydrochloride;

      a black duffle bag containing a blue backpack and several plastic bags that contain a green

       weed substance with a strong odor consistent with marijuana. A portion of the green weed

       substance field-tested positive for marijuana.

       8.      The High Standard Sentinel Deluxe .22 caliber revolver was located on the top

corner of a plastic dresser in a rear bedroom, and the AR-style rifle was located on the floor in this

same room. Law enforcement officers located a photo identification of YATES on top drawer of

a second dresser in that same rear bedroom. Moreover, law enforcement officers observed mail

matter in YATES’s name in this same rear bedroom. In addition, law enforcement officers

observed clothing throughout this bedroom, which appeared to be seized appropriately for

YATES. Lastly, law enforcement officers located the purse of the female overnight guest inside

this rear bedroom; inside law enforcement located a police citation that listed an address in Virginia

for the female overnight guest. An identification card for YATES’s mother was found on the


                                                  3
         Case 1:18-mj-00103-GMH Document 1-1 Filed 08/24/18 Page 4 of 5



nightstand of a separate, second bedroom. In addition, law enforcement observed female clothing,

hats, purses, and high-heeled shoes inside the second bedroom.

       9.      Your affiant is aware that YATES has previously been convicted of at least one

offense for which the maximum sentence is greater than one year of incarceration. Specifically,

YATES has a prior conviction for Attempted Distribution of a Controlled Substance (2016 CF2

11511, Superior Court for the District of Columbia).

       10.     Law enforcement officers placed the defendant under arrest based on probable

cause that the defendant illegally possessed a firearm, in violation of Title 18, United States Code,

Section 922(g).

       11.     Based on the information contained in this Affidavit, your affiant submits that there

is probable cause to believe that RICARDO YATES, having been convicted of a crime punishable

by imprisonment for a term exceeding one year, in the District of Columbia, Case Number 2016

CF2 11511, did unlawfully and knowingly receive and possess a firearm, that is a High Standard

Sentinel Deluxe .22 caliber revolver, and did unlawfully and knowingly receive and possess

ammunition, that is .22 caliber ammunition, in violation of Title 18, United States Code, Section

922(g)(1).




                                                 4
        Case 1:18-mj-00103-GMH Document 1-1 Filed 08/24/18 Page 5 of 5



       I declare under the penalty of perjury that the foregoing is true and correct to the best of

my knowledge.


                                             _______________________________
                                             Matthew S. Hopkins, Special Agent
                                             Bureau of Alcohol, Firearms, Tobacco,
                                             and Explosives


Sworn to and subscribed before me
this _____ day of August, 2018.

______________________________
The Honorable G. Michael Harvey
Magistrate Judge for the District of Columbia




                                                5
